Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 1 of 7 PagelD #: 1

 

IN U.S. DISTRICT COURT MAR 3.0 2012
FOR THE DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION CEE
, 7 CLERK

 

Jessica Moran, individually ) Case No. 42 - 7&-
and as the Mother of Kahlani )
Caprice Frenchman, an )
unborn child, )
)
Plaintiff, )
)
vs. ) COMPLAINT
)
Dr. Terry A. Haag and Dr. Jorge )
Simental, )
)
Defendants. )
Plaintiff pleads as follows:
lL, Plaintiff is a resident of South Dakota.
2. Defendants are residents of a state other than the State of South Dakota.
3. There exists complete diversity of citizenship and the amount in

controversy exceeds the sum of $75,000.

4. On May 6, 2010, at 1925 hours, Plaintiff, a 33 year old Native American
female, who was 34 4/7 weeks pregnant, presented at the Rosebud Indian Health Service
Hospital emergency room with severe abdominal pain of sudden onset.

5. Jessica was initially treated by Dr. Simental, ER doctor, at approximately
1928 hours. Dr. Simental looked in on her, but did not physically examine her. He
prescribed an IV and series of medications, including morphine. Dr. Simental’s
diagnosis was (1) intrauterine pregnancy 34 2/7 weeks; (2) Nephrolithiasis (kidney

stones); (3) early labor.
Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 2 of 7 PagelD #: 2

6. According to RIH records, at 2000 hours Jessica was seen by Dr. Terry A.
Haag, Board Certified by American Board of Obstetric & Gynecology. Dr. Haag’s
impression was (1) IUP at 34 4/7 weeks; (2) nephrolithiasis. Dr. Haag advised Jessica
and her family that she had a “classic case of kidney stones” and that she would be given
IV fluids and medication and admitted to RIH for 23 hour observation to see whether she
passed the stones.

7. After this visit, Jessica was not seen by a physician until 0800 hours on
May 7, 2010. During the night Jessica’s condition did not improve and she continued to
experience severe abdominal pain. In Dr. Haag’s words, “Pt without improvement P
aggressive hydration and pain management.”

8. At approximately 0800 hours Dr. Haag ordered Jessica transferred to
Sanford Hospital in Sioux Falls. In spite of Jessica’s severe abdominal pain which had
not responded to IV’s or medication, the fact that the cause of Jessica’s pain had not been
determined and that Jessica’s condition had not improved, Dr. Haag represented on the
transfer sheet that her condition was stable at the time of transfer.

9. On May 6, 2010, Dr. Haag took an Obstetric History and History of
Present Illness/Labor. The history indicated that Jessica had undergone Gastric Bypass
surgery in 2009. During the night of May 6-7 Jessica’s baby’s fetal heart tone was
monitored intermittently. According to a nurse’s note at 0800 on May 7, 2010, fetal
movement and fetal heart tones 140-150’s were observed. In spite of the fact that the
fetal heart tracings from that morning show an increasing baseline and lack of previously

noted reactivity, Dr. Haag failed to conduct further testing for fetal reassurance prior to
Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 3 of 7 PagelD #: 3

transport. Indeed, there is no record that Dr. Haag even looked at the FHT’s that morning
or that the increasing baseline and lack of prior reactivity was noted or considered at all.

10. After her transfer was ordered, Jessica sat and waited, with no medical
treatment or monitoring of her or her baby, for almost an hour for the tribal ambulance to
arrive. When the ambulance arrived, it had no equipment to monitor FHT’s and no
FHT’s were documented at that time or during the four hour transport.

11. On arrival at Sanford Hospital, Jessica was in extreme pain and having
difficulty breathing. During an exam she coded and remained in a coma for 5 days.

12. | Ultrasound conducted on arrival revealed fetal demise and free fluid in the
abdomen. A CT scan indicated no kidney stones, but a perforation in Jessica’s small
bowel and foreign material in her abdomen.

13. | Animmediate C-section was performed to remove the fetus followed by
the repair of the tear. Upon entering the abdomen, there was a very large rush of
intestinal content grossly out of the abdomen. When Jessica, who the treating physicians
were surprised survived, came out of her coma 5 days later, she learned that Kahlani was
deceased and had already been buried. Jessica never once got to see or hold her baby.

14. Jessica was released from Sanford on May 18, but has continued to
experience significant health and emotional problems and has undergone extensive
medical treatment for complications associated with the bowel perforation and operations
she underwent at Sanford.

15. ‘In January of 2011, the Department of Health and Human Services
Centers for Medicare and Medicaid, following an investigation at RIHS, issued a report

which determined, among other things, that RIHS “(b) Failed to provide a medical
Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 4 of 7 PagelD #: 4

screening examination that was, within reasonable clinical confidence, sufficient to
determine whether or not an Emergency Medical Condition (EMC) existed for 9 of 21
sample patients,” including Jessica Moran; “(c) Failed to ensure the patient’s Emergency
Medical Condition was stabilized prior to discharge/transfer of four of 21 patients,”
including Jessica Moran.

16. Dr. Simental was negligent in the care and treatment of Jessica Moran and
her unborn child, Kahlani, in the following and other respects to be developed through
discovery:

a. Jumping to a diagnosis of nephrolithiasis apparently based on data
from a prior visit which was incomplete and wrongly interpreted fell below the applicable
standard of care.

b. The failure to take steps, including an ultrasound to determine the
condition of the baby and a CT scan, to prove or disprove the diagnosis of kidney stones
fell below the standard of care.

c. The failure to consider and take steps to eliminate complications
due to the prior gastric bypass surgery as the cause of Jessica’s condition fell below the
standard of care.

d. The failure to consult with the general surgeon on call fell below
the applicable standard of care.

e. The failure to consider early transfer due to the high risk

pregnancy and possibility of premature birth fell below the applicable standard of care.
Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 5 of 7 PagelD #: 5

17. Dr. Haag was negligent in the care and treatment of Jessica Moran and her
unborn child, Kahlani, in the following and other respects to be developed through
discovery:

a. Jumping to a diagnosis of nephrolithiasis apparently based on data
from a prior visit which was incomplete and wrongly interpreted, fell below the standard
of care.

b. The failure to take steps, including an ultrasound or CT scan, to
prove or disprove the diagnosis of kidney stones fell below the standard of care.

C. The failure to consider and take steps to eliminate complications
due to the prior gastric bypass surgery as the cause of Jessica’s condition fell below the
standard of care.

d. The failure to consult with the general surgeon on call fell below
the applicable standard of care.

e. The failure to consider early transfer due to the high risk
pregnancy and possibility of premature birth fell below the applicable standard of care.

f. The failure to note and investigate the cause of Kahlani’s increased
baseline and lack of previously noted reactivity as shown by her fetal heart tracings on
the morning of 5-7-10 fell below the applicable standard of care.

g. The decision to transfer Jessica Moran without a confirmed
diagnosis and without her condition being stabilized fell below the standard of care.

h. The decision to transfer Jessica Moran and her unborn child by
ground ambulance without a confirmed diagnosis and without her condition being

stabilized in an ambulance with no capability of monitoring fetal heart tones and across
Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 6 of 7 PagelD #: 6

an area of the state with no available facilities to treat an emergency fell below the
standard of care.

i. Once the decision to transfer was made, the decision not to transfer
Jessica Moran and her unborn child by helicopter fell below the applicable standard of
care.

j- The failure to contact Sanford Health to send its NICU unit to
Rosebud to provide care and treatment for Jessica and her unborn child fell below the
standard of care.

k. The failure to arrange for delivery of Kahlani by cesarean rather
than transport fell below the applicable standard of care.

18. Kahlani Caprice Frenchman was 35 4/7 weeks, weighed 5 Ibs. 10 oz. and was
normal in every respect at the time of her wrongful death due to the negligence of
Defendants. With appropriate diagnosis and treatment, her death would not have
occurred.

19, Jessica Moran has sustained personal injury, pain and suffering, emotional
distress and has incurred significant medical and medical related expenses as a direct
result of Defendants’ negligence and has sustained permanent injury which will require
future treatment and expense all as a direct result of Defendants’ negligence.

20. That Defendants’ conduct constituted both negligent and intentional infliction
of emotional distress as defined by South Dakota law.

WHEREFORE, Plaintiff prays as follows:

1. For judgment against Defendants jointly and severally in an amount to be

determined by the jury;
Case 4:12-cv-04056-LLP Document1 Filed 03/30/12 Page 7 of 7 PagelD #: 7

2. For costs and disbursements herein;
3. For such other and further relief as the Court shall deem just and meet in

the premises.
Dated this “30 day of March, 2012.

COSTELLO, PORTER, HILL,
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TRIAL BY JURY IS DEMANDED
